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Counsel to the Official Committee of
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF WYOMING

In Re:                                                )       Chapter 11
                                                      )       Case No. 16-20326
POWELL VALLEY HEALTH CARE, INC.,                      )
                                                      )
                       Debtor-in-possession.          )

STIPULATION BETWEEN OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
 DEBTOR, AND PEGGI JO WERBELOW TO DETERMINE CLAIM ALLOWANCE
                       POST-CONFIRMATION

         The Official Committee of Unsecured Creditors (the “Committee”), Powell Valley

Health Care, Inc. (the “Debtor”), and Peggi Jo Werbelow (“Werbelow”) (collectively, with the

Personal Injury Trustee, the “Parties”) through their respective counsel, enter into this Stipulation

regarding Werbelow’s Motion for Entry of an Order Allowing Proof of Claim #95-1 Pursuant to

Rule 9006(b)(1) or in the Alternative Motion for Relief from Stay (the “Motion”) [Doc 731] and

states as follows:

         WHEREAS, on May 16, 2016, the Debtor filed for Chapter 11 relief;

         WHEREAS, on June 21, 2016, the Office of the United States Trustee appointed the

Committee;

         WHEREAS, on May 17, 2016, the Court established September 7, 2016 as the deadline

for holders of claims to file proofs of claim against the Debtor (the “Bar Date”) [Doc 19];


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        WHEREAS, on May 9, 2017, Werbelow, by and through counsel, filed proof of claim

number 95-1, asserting a general unsecured claim in the amount of $2,000,000;

        WHEREAS, on September 26, 2017, the Debtor filed its Amended Disclosure Statement

[Doc 655] and its Amended Chapter 11 Plan of Reorganization (the “Amended Plan”) [Doc

656];

        WHEREAS, on October 25, 2017, the Court entered an order establishing, among other

things, a deadline of November 17, 2017 for those wishing to seek allowance of Tardy Claims

[Doc 714];

        WHEREAS, on November 15, 2017, Werbelow, by and through counsel, filed proof of

claim number 95-2 (the “Werbelow Claim”), asserting a general unsecured claim in the amount

of $2,000,000;

        WHEREAS, on November 16, 2017, Werbelow, by and through counsel, filed the

Motion, requesting leave to file her proof of claim out of time, or in the alternative, relief from

the stay as against Jeffery Hansen, M.D.;

        WHEREAS, on December 7, 2017, the Court entered an order requiring compliance with

Local Bankruptcy Rule 9013-1(A) within fourteen (14) days of entry of the order (the

“Compliance Order”);

        WHEREAS, in light of the Motion and the Compliance Order, the Court will have to

determine whether to allow the Werbelow Claim (the “Claim Allowance Determination”).

        Now therefore, given the status of this case, with various negotiations in anticipation of a

confirmation hearing on the Amended Plan, the Committee, the Debtor, and Werbelow agree and

stipulate that the Claim Allowance Determination shall occur on a date to be determined post-



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confirmation of the Amended Plan. The Parties reserve all rights with respect to the Claim

Allowance Determination.

Dated:       December 19, 2017


                                            Respectfully submitted,

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